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                              IN THE
                  UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT

Office of the Ohio Consumers’              )
Counsel,                                   )
                    Petitioner,            )
                                           )
                   v.                      )                No. 23-3324
                                           )
Federal Energy Regulatory                  )
Commission,                                )
                   Respondent.             )


                MOTION TO INTERVENE OF
   DUKE ENERGY OHIO, INC. IN SUPPORT OF RESPONDENT FERC

      Under Rule 15(d) of the Federal Rules of Appellate Procedure, Duke Energy

Ohio, Inc. (“Duke”) hereby moves to intervene in this matter in support of

Respondent FERC.

                                  BACKGROUND

      In Case No. 23-3324, the Office of the Ohio Consumers’ Counsel seeks

review of the following order and denial of rehearing issued by the Federal Energy

Regulatory Commission:

      1.    Office of the Ohio Consumers Counsel v. American Electric Power
            Service Corporation, et al., 181 FERC ¶ 61,214 (Dec. 15, 2022);

      2.    Office of the Ohio Consumers Counsel v. American Electric Power
            Service Corporation, et al., Notice of Denial of Rehearing by
            Operation of Law, 182 FERC ¶ 62,095 (Feb. 17, 2023).



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                         STATEMENT OF INTEREST

      Duke seeks to intervene in this case because it has a direct and substantial

interest that cannot be adequately represented by any other party.

      Duke was a party to the orders below. (Duke is among the Petitioners in the

related case Dayton Power & Light Co., et al. v. FERC, 6th Cir. No. 21-4072,

currently held in abeyance, and Duke has also filed seeking to intervene in the

related case American Electric Power Service Corporation v. FERC, 6th Cir. No.

23-3196).

      In this proceeding, the Office of the Ohio Consumers Counsel (“OCC”) filed

a complaint under section 206 of the Federal Power Act against the RTO Adder of

Duke, as well as subsidiaries of American Electric Power Services Corporation

(“AEP parties”) and American Transmission Systems, Inc. (“ATSI”). 181 FERC ¶

61,214 at P 1. OCC argued that Duke’s existing rate was unjust and unreasonable.

Id. at PP 60, 66. The Commission accepted some of Duke’s arguments in defense

of its RTO Adder, and rejected others. See id. at PP 63-64 (finding that the RTO

Adder was unjust and unreasonable as part of the AEP parties’ rate, but that Duke

was “not similarly situated” to those parties and thus upholding Duke’s RTO

Adder).

      Thus, the orders being appealed here directly bear on Duke’s ability to

recover an RTO Adder. Duke therefore “has a substantial legal interest in this



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litigation.” Michigan State AFL-CIO v. Miller, 103 F.3d 1240, 1247 (6th Cir.

1997) (establishing this Circuit’s rules for intervention and finding that a

“substantial legal interest” is an element of intervention).

        At the same time, Duke’s interests are positioned uniquely. Duke agrees

with FERC’s conclusion upholding Duke’s RTO Adder, but not with all of its

reasoning. Thus, Duke satisfies the “minimal” burden to show that no current

party will adequately represent its interests. Michigan State AFL-CIO, 103 F.3d at

1247.

        Duke is seeking leave to intervene in this case to ensure that it can provide

its unique perspective on the issues to be heard by this Court. Because this motion

is timely under the rules of this Court, granting Duke’s motion will not

inconvenience any other party in this proceeding.

                                   CONCLUSION

        Duke respectfully requests that the Court grant its Motion to Intervene in

this case with full rights attendant thereto.



Dated: April 24, 2023                           Respectfully submitted,

                                                /s/ Matthew A. Fitzgerald

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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2) because:

           The motion contains 489 words, excluding the parts exempted by Fed.

            R. App. P. 27(a)(2)(B).

      This motion complies with the typeface and type-style requirements of Fed.

R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because:

           The motion has been prepared in a proportionally spaced typeface

            using Microsoft Word in 14-point Times New Roman font.


                                            /s/ Matthew A. Fitzgerald
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 24, 2023, I filed the foregoing with the Clerk of

the United States Court of Appeals for the Sixth Circuit using the appellate

CM/ECF system, which will send a notification of electronic filing to all counsel

of record who are registered CM/ECF users.




                                              /s/ Matthew A. Fitzgerald
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